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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                         )
  In re:                                                 )   Chapter 11
                                                         )
  FREE SPEECH SYSTEMS LLC,                               )   Case No. 22-60043
                                                         )
                         Debtor.                         )

               SUBCHAPTER V TRUSTEE’S APPLICATION TO RETAIN
                   THE LAW OFFICE OF LIZ FREEMAN, PLLC

       If you object to the relief requested, you must respond in writing. Unless otherwise
       directed by the Court, you must file your response electronically at
       https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
       was filed. If you do not have electronic filing privileges, you must file a written
       objection that is actually received by the clerk within twenty-one days from the
       date this motion was filed. Otherwise, the Court may treat the pleading as
       unopposed and grant the relief requested.


       Melissa Haselden, Subchapter V Trustee (“Trustee”), files this application (this

“Application”) for entry of an order (the “Order”), authorizing the retention and employment of

The Law Office of Liz Freeman as her co-general bankruptcy counsel in the above-captioned

bankruptcy case. In further support of this Application, the Trustee submits the Declaration of

Elizabeth Freeman, (the “Freeman Declaration”), attached as Exhibit B, and represents as follows:

                                       I. APPLICATION

       1.      The Trustee is the duly qualified and acting Subchapter V Trustee for the estate of

the Free Speech Systems, LLC (“Debtor”). The Debtor initiated the bankruptcy case on July 29,

2022 (the “Petition Date”) via the filing of a voluntary chapter 11 petition.

       2.      On September 20, 2022, the Court entered the Order Expanding the Subchapter V

Trustee’s Duties Pursuant to 11 U.S.C. § 1183(b)(2) of the Bankruptcy Code [Docket No. 183].
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       3.      In recognition of the unique complexities involved in this matter, the Trustee sought

approval to retain Jackson Walker LLP (“JW”), as general bankruptcy counsel with JW partner

Elizabeth Freeman acting as attorney-in-charge. [Docket No. 230]. The Court entered an order

approving the retention of JW on November 7, 2022 [Docket No. 265]. In December 2022, Ms.

Freeman left JW and formed The Law Office of Liz Freeman, PLLC. The Trustee seeks to retain

The Law Office of Liz Freeman, PLLC (“Freeman”) as co-general counsel with JW. Freeman and

JW will work in close coordination but in such a way so as to avoid duplication of effort.

       4.      The Trustee files this Application pursuant to §§ 327(a), 328, and 704 of the

Bankruptcy Code. The Trustee requests authority to retain Freeman, as co-counsel pursuant to the

terms of the attached proposed engagement agreement (the “Engagement Letter”), which is

attached as Exhibit A.

       5.      The Trustee requests that the employment be effective as of December 5, 2022.

The Bankruptcy Court for the Southern District of Texas authorizes retroactively effective

employment applications. See BANKR. S.D. TEX. LOC. R. 2014-1(b). The application must

include: (A) An explanation of why the application was not filed earlier; (B) An explanation why

the order authorizing employment is required nunc pro tunc; (C) An explanation, to the best of the

applicant’s knowledge, how approval of the application may prejudice any parties-in-interest.

BANKR. S.D. TEX. LOC. R. 2014-1(b)(2)(A)–(C). The Trustee is cognizant of Triangle

Chemicals and its progeny. See Matter of Triangle Chemicals, Inc., 697 F.2d 1280 (5th Cir. 1983)

(holding that the bankruptcy court had discretion, as a court of equity to consider whether approval

of attorney’s employment should be granted nunc pro tunc).

       6.      The Trustee entered into the engagement letter with Freeman in January 2023 and

an application to employ was prepared and approved. The application was not immediately filed

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due to a oversight. Ms. Freeman was previously employed and designated as counsel in charge

through the order authorizing the employment of Jackson Walker LLP. [Docket #265]

Ms. Freeman provided valuable services to the Trustee, including helming the Subchapter V

Trustee’s Initial Findings of Free Speech Systems LLC [Docket #550]. Ms. Freeman has taken an

active role in this case, including frequent meetings and discussions with counsel to parties in an

effort to facilitate resolution and has made appearances at hearings on behalf of the Trustee. Ms.

Freeman is continuing to provide necessary services to the Trustee.

       7.      No party will be prejudiced by approval of this application nunc pro tunc.

Approval of the application will not result in a delay of these proceedings. Ms. Freeman’s role

and contributions to the matter are well known to the parties.

       8.      Ms. Freeman has not yet sought compensation from the estate. Ms. Freeman is

holding $100,000 in her IOLTA account on account of this matter.

       9.      The Trustee selected Freeman to render professional services to her in her role as

Subchapter V Trustee, which include, but are not limited to, the following:

                   a) Conducting an investigation required by the Court;

                   b) Assisting the Trustee in analyzing claims owned by the estate against third

                      parties arising under chapter 5 of the Bankruptcy Code and other applicable

                      law;

                   c) Conducting appropriate examinations of witnesses, claimants, and other

                      parties-in-interest in connection with the Trustee’s duties in the case;

                   d) Representing the Trustee in the bankruptcy case, any adversary

                      proceedings, and other proceedings before the Bankruptcy Court, and in any

                      other judicial or administrative proceeding;

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                   e) Performing any other legal services that may be appropriate in connection

                       with the foregoing.

       10.     The Trustee selected Ms. Freeman because she has extensive experience in matters

relating to bankruptcy, commercial litigation, and asset collection. Ms. Freeman has the expertise

and capacity to address the needs of the estate.        The Trustee believes that the continued

involvement of Ms. Freeman will ensure continuity in the provision of the required legal expertise

to allow the Trustee to administer the estate and discharge her fiduciary duties under the

circumstances effectively and prudently. The Trustee believes retention of Freeman is necessary

due to its array of expertise in various, relevant areas of law and with complex bankruptcy matters

and knowledge with regards to this case.

       11.     Freeman’s mailing address is PO Box 61209, Houston, TX 77208-1209. Freeman’s

telephone number is 832-779-3580. Ms. Freeman’s e-mail address is liz@lizfreemanlaw.com.

Ms. Freeman is licensed by the State Bar of Texas and admitted to practice before this Court. Ms.

Freeman is qualified to act as lead general counsel for the Trustee.

                                    II. COMPENSATION 1

       12.     The Trustee negotiated a compensation agreement designed to fit the particular

needs and possibilities of this case. Ms. Freeman will maintain the previously approved rate of

$750/hr. Ms. Freeman agrees to not raise her rates with regards to the matters for which it is being

retained without seeking further order of this Court.

       13.     Elizabeth Freeman will continue to be designated as attorney-in-charge. She will

coordinate effort and avoid duplication with JW in its representation of the Trustee.




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        14.       Freeman’s work will be clearly reflected in the invoices and any fee applications.

Freeman will maintain detailed records of costs and expenses incurred in connection with its legal

services, and these will be set forth in detail as part of the invoices and fee applications.

        15.       Ms. Freeman has been licensed to practice in the State if Texas since 1998 and is

admitted to practice before the Southern District of Texas. Ms. Freeman has over 20 years of

experience in complex bankruptcy and reorganization matters and representation of trustees. Ms.

Freeman is Board Certified in Business Bankruptcy Law by the Texas Board of Legal

Specialization.

                  STATEMENT REGARDING CONNECTION TO THE CASE

        16.       To the best of the Trustee’s knowledge, Freeman does not represent or hold any

interest adverse to the Debtor, its estate, creditors, equity security holders, or affiliates that would

preclude Freeman from serving as counsel for the purposes stated herein. Freeman has no

connection with the Trustee, Debtor, the creditors, or any other party-in-interest, their respective

attorneys and advisors, the United States Trustee, or any person employed in the office of the

United States Trustee other than what is disclosed in the Freeman Declaration and are

“disinterested persons” within the definition of § 101(14) of the Bankruptcy Code on the matters

for which it is to be engaged as general bankruptcy counsel.

                                           CONCLUSION

        17.       Section 327(a) authorizes the Trustee’s retention of Freeman as co-general

bankruptcy counsel for the Trustee to be compensated in accordance with § 328 as set forth herein

and in the Engagement Agreement. The Trustee has not given any compensation or promised any

compensation to Freeman, except as set forth in the Engagement Agreement. In addition, the




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Trustee has not sought or obtained leave to employ any other professional to represent the Trustee

on the same matters as she proposes Freeman represent her.

       18.     In reaching her decision, the Trustee evaluated the estate’s available resources, the

complexity of the case, the investigation and associated risks. Under the circumstances, the

Trustee believes that the terms of the proposed compensation arrangement are both reasonable and

prudent and provide her the necessary assistance for the case.

       WHEREFORE, the Trustee respectfully requests that an order be entered (a) approving

this Application and authorizing the Trustee to employ and retain The Law Office of Liz Freeman,

PLLC to represent the Trustee as her co-general bankruptcy counsel consistent with the terms set

forth herein and in the Engagement Agreement effective December 5, 2022; and (b) granting the

Trustee any other relief that is just and proper.



 Dated: January 19, 2024.                               /s/ Melissa Haselden
                                                        Melissa Haselden, Subchapter V Trustee
                                                        Free Speech Systems LLC




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                                     Certificate of Service

        I certify that on January 19, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and upon all creditors as reflected on the attached list.

                                                      /s/ Elizabeth C. Freeman
                                                      Elizabeth C. Freeman
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                         )
  In re:                                                 )   Chapter 11
                                                         )
  FREE SPEECH SYSTEMS LLC,                               )   Case No. 22-60043
                                                         )
                         Debtor.                         )
                                                         )

     ORDER AUTHORIZING THE RETENTION OF THE LAW OFFICE OF LIZ
     FREEMAN, PLLC AS CO-COUNSEL FOR THE SUBCHAPTER V TRUSTEE

       CAME ON FOR CONSIDERATION the Application to Retain The Law Office of Liz

Freeman as Co-Counsel the Subchapter V Trustee (the “Application”). Having reviewed the

Application and the supporting documents, and finding that it has jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; that the Application was properly filed and served; that this is a core

proceeding pursuant to 28 U.SC. § 157(b); and that venue is proper in this district pursuant to 28

U.S.C. §§ 1408 and 1409; and based upon good and sufficient cause appearing therefor; the Court

ORDERS THAT:

       1.      The Trustee is authorized to retain and employ The Law Office of Liz Freeman,

PLLC (“Freeman”) as counsel upon the terms and conditions set forth in the Application and as

modified herein effective December 5, 2022.

       2.      Freeman shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtor’s case in compliance with

sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy Rules,

Bankruptcy Local Rules, and any other applicable procedures and orders of the Court. For billing

purposes, Freeman shall keep its time in one tenth (1/10) hour increments. Freeman will use its
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best effort to avoid any duplication of services provided by any of the other professionals in this

case.

        3.     Freeman will review its files periodically during the pendency of this chapter 11

case to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Freeman will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Fed. R. Bankr. P. 2014(a).

        4.     To the extent that the Application or the Freeman Declaration is inconsistent with

this Order, the terms of this Order shall govern.

        5.     Notwithstanding anything to the contrary in the Application, Freeman shall not be

entitled to reimbursement for fees and expenses incurred in connection with any objection to its

fees absent further order of this Court.

        6.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        7.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.


 Dated: _______________, 2024
                                                        CHRISTOPHER LÓPEZ
                                                        UNITED STATES BANKRUPTCY JUDGE




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                          )
  In re:                                                  )   Chapter 11
                                                          )
  FREE SPEECH SYSTEMS LLC,                                )   Case No. 22-60043
                                                          )
                          Debtor.                         )
                                                          )

            DECLARATION OF ELIZABETH FREEMAN IN SUPPORT
          OF THE APPLICATION TO RETAIN THE LAW OFFICE OF LIZ
      FREEMAN, PLLC AS CO-COUNSEL FOR THE SUBCHAPTER V TRUSTEE


       The undersigned proposed attorney for the above-captioned debtor and debtor-in-

possession submits this verified statement of disinterestedness pursuant to Bankruptcy Rule

2014(a).

       1.      My name is Elizabeth Freeman. I am over the age of 18 years, I am competent to

make this declaration, and I have personal knowledge of the facts stated herein. Each and every

statement contained herein is true and correct.

       2.      I am an attorney admitted to practice in the State of Texas and in this Court.

       3.      I am a member of The Law Office of Liz Freeman, PLLC (the “Firm”). The Firm’s

mailing address is PO Box 61209, Houston, TX 77208-1209. The Firm’s telephone number is

832-779-3580. My e-mail address is liz@lizfreemanlaw.com.

       4.      In conjunction with the Trustee’s retention of the Firm, I searched of the Firm’s

conflict system for each of the Debtor, the Debtor’s creditors, affiliates, and insiders, principals of

the Debtor, officers and directors of the Debtors (the “Potential Parties in Interest”).

       5.      The Firm may represent other affiliates whose identities and affiliation did not show

up on the conflicts system. It is possible that there are creditors whom the Debtor did not identify
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in their records that are clients of the Firm. I did not find that I nor my Firm had connections with

the Debtor, its creditors and their current and former officers, directors, and professionals.

A.      The Firm’s Prior Relationship to the Trustee

        6.    My prior firm, Jackson Walker, LLP and the Trustee entered into the Engagement on

October 11, 2022. The Firm has no other representation of the Trustee. The Trustee and I have

known one another for a number of years and have worked on matters as opposing counsel and

also as counsel representing parties with common interests. On occasion, I refer potential clients

to the Trustee.

B.      Current Clients of the Firm that are Creditors of the Debtor

        7.    The Firm does not represent entities or affiliates of creditors of the Debtor.

C.      Creditors of the Debtor that are Adverse to the Firm’s Clients

        8.        The Firm did not find that it represents, or has represented in the past, clients that

are adverse or potentially adverse to creditors (or affiliates of creditors) of the Debtor.

D.      The Firm’s Connections with the Debtor, Officers, and Professionals

        9.        Neither I nor the Firm have had any connection with the Debtor, insiders or

affiliates of the Debtor, the Debtor’s creditors, any other party in interest, their respective attorneys

and accountants, the United States Trustee, or any other person employed in the Office of the

United States Trustee. I believe that the Firm and I am a are disinterested persons within the

meaning of 11 U.S.C. § 101(14), to the best of my knowledge.

E.      Statement Regarding United States Trustee Guidelines

        10.       The Firm shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtor’s chapter 11 case in compliance

with sections 330 and 331 of the Bankruptcy Code, and applicable provisions of the Bankruptcy

Rules, Bankruptcy Local Rules, and any other applicable procedures and orders of the Court.

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       11.     The Firm will periodically review both the changes in identifiable parties in interest

of the Debtor and clients of the Firm as such information becomes available or relevant. I will

update this disclosure as appropriate.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


      Executed January 19, 2024
                                               /s/ Elizabeth C. Freeman
                                               Elizabeth C. Freeman



                           Schedule 1
      Schedule of Searched Parties/Terms

Elevated Solution                                     CustomTattoo
Free Speech                                           AT&T
Greenair                                              Justin Lair
Christopher Sadowski                                  PQPR
Copycat Legal                                         David Ross Jones
Edgecast                                              Carol Jones
Atomial                                               Ally Bank
Ready Alliance                                        Wisconsin Department
Cloudfare                                             Texas Comptroller
Getty Images                                          American Express
Jacquelyn Blott                                       Shelby Jordan
RatsMed                                               Vickie Driver
Rapid Med                                             Travis County
Joel Skousen                                          Security Bank of Crawford
David Icke                                            Reeves Law
Icke Book                                             Sweetwater Holdings
Ickonic                                               Patrick McGill
Commerce Con                                          Reynal
WWCR                                                  ADP
Paul Watson                                           Cicak
JW JIB                                                Richard Coan
Brennan Gilmore                                       Alex Woolverton
Civil Rights Clinic                                   Stephen Lemmon
                                                      Melissa Haselden
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Anthony Gucciardi                         Carlee Soto Parisi
Aurium                                    Carlos M. Soto
Patrick Riley                             Jillian Soto-Marino
Blue Ascension                            William Aldenberg
Neil Heslin                               William Sherlach
Scarlett Lewis                            Robert Parker
Leonard Pozner                            Joey Delassio
Veronique De La Rosa                      Elevated Solutions
Marcel Fontaine                           Ray Battaglia
David Wheeler                             Bradley Reeves
Francine Wheeler                          Amex
Jacqueline Barden                         Texas Comptroller
Mark Barden                               Jason Ruff
Nicole Hockley                            Ha Nguyen
Ian Hockley                               Ally Bank
Jennifer Hensel                           AIS Portfolio
Donna Soto




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